       The following cases in which the Court of Appeals issued published opinions have been
appealed to the Supreme Court:

    1. Donald Keith Epps
        v. Commonwealth of Virginia
        Record No. 0148-15-3
        Opinion rendered by Judge O’Brien on
        May 31, 2016

    2. Wayne Antonio Bland, Jr.
        v. Commonwealth of Virginia
        Record No. 0864-15-2
        Opinion rendered by Judge Chafin on
        June 7, 2016
   The following cases in which the Court of Appeals issued published opinions have been
disposed of by the Supreme Court:

1. Andrew Wallace
   v. Commonwealth of Virginia
   Record No. 1476-14-1
   Opinion rendered by Judge Petty
    on July 28, 2015
   Affirmed by order (151296)

2. Geoffrey Narcisco Rivera
   v. Commonwealth of Virginia
   Record No. 1931-14-1
   Opinion rendered by Judge Chafin
    on November 10, 2015
   Refused (160093)

3. Robert Lee McLaughlin, Jr.
   v. Commonwealth of Virginia
   Record No. 1187-14-1
   Opinion rendered by Judge Beales
    on November 17, 2015
   Refused (151908)

4. Claude Davis
   v. Commonwealth of Virginia
   Record No. 0693-14-1
   Opinion rendered by Judge Beales
     on November 24, 2015
   Refused (151892)

5. Jason Merritt Overbey
    v. Commonwealth of Virginia
   Record No. 1470-14-2
    Opinion rendered by Judge Alston
     on December 15, 2015
    Refused (160081)

6. Patrick Franklin Graves, Jr.
   v. Commonwealth of Virginia
   Record No. 2344-14-1
   Opinion rendered by Judge Decker
     on January 12, 2016
   Refused (160141)
      The Supreme Court issued opinions in the following cases, which had been appealed
from this Court:

   1. Irving Thomas Small
      v. Commonwealth of Virginia
      Record No. 2030-14-1
      CAV petition for appeal denied by Judge McCullough on June 15, 2015
      Judgment of Court of Appeals affirmed by opinion rendered on July 14, 2016
      (150965)

   2. Leonte D. Edmonds
      v. Commonwealth of Virginia
      Record No. 1958-14-4
      CAV petition for appeal denied by Judge O’Brien on June 19, 2015
      Judgment of Court of Appeals affirmed by opinion rendered on July 14, 2016
      (151100)
